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                                      Case 19-50269-JTD      Doc 64       Filed 01/07/20   Page 1 of 2
                                                    SIGN-IN SHEET
                                               JUDGE: Doraey             COURTROOM: 5
CASE NUMBER: 19-50269 CASE NAME: GSCP VI Edgemarc Holdings, L.L.C., et al. v. ETC Northeast Pipeline LLC, et al. DATE: 1nI2020 (2:00 PM)

           -PLEASE PRINT YOUR NAME LEG/BLY OR YOUR APPEARANCE MAY NOT BE CORRECTLY NOTED'lrlt*

                 NAME                              LAW FIRM OR COMPANY                             CLIENT REPRESENTING

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                                                        Case 19-50269-JTD      Doc 64           Filed 01/07/20         Page 2 of 2

Court Conference                                                                                           U.S. Bankruptcy Court-District of Delaware
           Calendar Date:                 01/07/2020                                                      Confirmed Telephonic Appearance Schedule
           Calendar Time:                 02:00 PM ET
                                                                                                                                         Honorable John T. Dorsey
                                                                                                                                                       Courtroom
                                                                                                                                                      2nd Revision Jan 7 2020 7:48AM

 Page#        Item #    Case Name           Case#       Proceeding           App ID Appearing              Telephone       Firm Name                           Representing
                        EdgeMark Energy     19-11104    Hearing             10295362   Peg A. Brickley     (267)           Dow Jones & Co.                    Interested Party, Dow
                        Holdings, LLC                                                                      979-0991 ext.                                      Jones & Co. / LISTEN
                                                                                                                                                              ONLY
                        EdgeMarc Energy     19-11104    Hearing             10295302   Timothy A.          (713)           Hunton Andrews Kurth LLP           Creditor, KeyBank N.A. /
                        Holdinas LLC                                                   Davidson II         220-3810 ext.                                      LIVE
                        Edgemarc Energy     19-11104    Hearing             10288620   Katie Fackler       (904)           Akerman LLP                        Interested Party, ETC
                        Holdings, LLC                                                                      598-8610 ext.                                      NorthEast Pipeline /
                                                                                                                                                              LISTEN ONLY
                        EdgeMarc Energy     19-11104    Hearing             10293677   Taylor B.           (212)           Debtwire                           Interested Party,
                        Holdings, LLC                                                  Harrison            390-7831 ext.                                      Debtwire / LISTEN
                                                                                                                                                              ONLY
                        EdgeMarc Energy     19-11104    Hearing             10293654   Jeremy Hill         (646)           Bloomberg News                     Interested Party,
                        Holdings, LLC                                                                      324-3948 ext.                                      Bloomberg News /
                                                                                                                                                              LISTEN ONLY
                        EdgeMarc Energy     19-11104    Hearing             10289405   Rhett Metz          (214)           Energy Transfer Technologies       Interested Party, Energy
                        Holdings, LLC                                                                      981-0700 ext.                                      Transfer Technologies/
                                                                                                                                                              LISTEN ONLY
                        EdgeMarc Energy     19-11104    Hearing             10288635   John E. Mitchell    (214)           Akerman LLP                        Interested Party, ETC
                        Holdings, LLC                                                                      720-4344 ext.                                      NorthEast Pipeline /
                                                                                                                                                              LISTEN ONLY
                        EdgeMarc Energy     19-11104    Hearing             10293897   Mitchell E.         (646)           Cowen & Co., LLC                   Interested Party, Cowen
                        Holdings, LLC                                                  Sussman             616-3037 ext.                                      & Co., LLC / LISTEN
                                                                                                                                                              ONLY
                        EdgeMarc Energy     19-11104    Hearing             10288650   Jessica Sykora      (713)           Energy Transfer Partners           Interested Party, ETC
                        Holdings, LLC                                                                      989-7152 ext.                                      NorthEast Pipeline/
                                                                                                                                                              LISTEN ONLY
                        EdgeMarc Energy     19-11104    Hearing             10278185   Sigmund             (212)           Brown Rudnick LLP                  Creditor, Creditors
                        Holdinas LLC                                                   Wissner-Gross       209-4930 ext.                                      Committee / LIVE




Peggy Drasal ext. 802                                                        CourtConfCal2009                                                                                 Page 2 of 2
